O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT COURT
                                                                         for the
                                                        Western District of North Carolina

                     United States of America                              )
                                v.                                         )
                                                                           )   Case No: 5:97CR109-1
                            ROGER BYRD
                                                                           )   USM No: 11610-058
Date of Previous Judgment: March 15, 1999                                  )   Tanzania Cannon-Eckerle
(Use Date of Last Amended Judgment if Applicable)                          )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.  GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of             months is reduced to                           .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    41                 Amended Offense Level:                                           39
Criminal History Category: VI                 Criminal History Category:                                       VI
Previous Guideline Range:  360 to Life months Amended Guideline Range:                                         360       to Life   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain): No reduction as the guideline range remains unchanged. After applying Amendment 706, the guideline
                     imprisonment range remains at 360 months to life, with a statutory maximum of 360 months after a
                     Notice of 21 U.S.C. § 851 is applied (Not more than 30 years imprisonment). Therefore, Amendment
                     706 has no impact on the defendant's sentence.

III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated                     March 15, 1999     shall remain in effect.
IT IS SO ORDERED.

Order Date:          May 4, 2009


Effective Date: May 4, 2009
                       (if different from order date)


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